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                                 THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
                                              ****

UNITED STATES OF AMERICA,

              Plaintiff,                                        2:22‐cr‐00008‐JCM‐EJY

vs.                                                             DATE: May 10, 2023

GJERGI LUKE JUNCAJ,                                             MINUTES OF PROCEEDINGS

              Defendant.                                        JURY TRIAL

THE HONORABLE JAMES C. MAHAN, UNITED STATES DISTRICT JUDGE

DEPUTY CLERK: Summer Rivera REPORTER: Judy Moore

COUNSEL FOR PLAINTIFF: Jonathan Jacobson and Lauren Castaldi

COUNSEL FOR DEFENDANT: Rebecca Levy and Navid Afshar

MINUTES OF PROCEEDINGS: Jury Trial (Day 3)

9:04 a.m. ‐ The Court reconvenes. Defendant is present at liberty. Discussions are held regarding
jury instructions outside the presence of the jury. The Court GRANTS [ECF No. 158] Defendant’s
request for modifications to the proposed jury instructions. The Court is in a short recess.

9:28 a.m – The court reconvenes. The jury enters the courtroom, and the parties
stipulate to the presence of the jury. Jury instructions are read into the record.

10:07 a.m. – Mr. Jacobson presents closing arguments.

10:34 a.m. – Ms. Levy presents closing arguments.

11:03 a.m. ‐ The jury is admonished and excused for a morning break. The Court stands at recess.

11:18 a.m. ‐ The court reconvenes. The jury enters the courtroom, the parties stipulate to the
presence of the jury.

11:19 a.m. – Mr. Jacobson presents a rebuttal argument.

11:30 a.m. – The jury is sworn. The bailiff is sworn to take charge of the jury. Alternate jurors are
excused.

11:34 a.m. ‐ The jury is excused to begin deliberations. The Court stands at recess.
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2:52 p.m. ‐ The Court reconvenes outside the presence of the jury. Defendant’s presence is waived.
Discussions are held regarding a jury note.

3:02 p.m. – The Court stands at recess.

3:42 p.m. ‐ The Court reconvenes outside the presence of the jury. Defendant’s presence is waived.
Discussions are held regarding a jury note.

3:55 p.m. – The Court stands at recess.

4:22 p.m. The Court reconvenes. The jury enters the courtroom. The foreperson is identified. The jury
confirms they have reached a unanimous verdict. The court publishes the verdict. The Court thanks the
jurors for their service and the jury is excused.

4:30 Court is Adjourned.


                                                               DEBRA K. KEMPI, CLERK
                                                               U.S. DISTRICT COURT

                                                               BY:       /S/
                                                               Summer Rivera, Deputy Clerk
